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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


In re                                              Chapter 11
                                                   Case No. 01-01139 JKF
W.R. Grace & Co., et al.                           (Jointly Administered)

              Debtors.


                      DECLARATION OF JEFFREY M. BOERGER

        I, Jeffrey M. Boerger, do hereby declare as follows:

        1.     I am an attorney associated with the law firm of Drinker Biddle & Reath LLP,

with offices at One Logan Square, 18th & Cherry Streets, Philadelphia, Pennsylvania 19103.

        2.     I am a member in good standing of the bars of the State of Illinois, the

Commonwealth of Pennsylvania, and the State of New Jersey. I have been admitted to practice

pro hac vice before this Court in the instant matter.

               I represent OneBeacon America Insurance Company ("OneBeacon") and Seaton

Insurance Company ("Seaton") in this matter.

        4.     I make this declaration in support of the Final Objections of OneBeacon America

Insurance Company and Seaton Insurance Company to Confirmation of Amended Joint Plan of

Reorganization ("Plan Objections"), as well as to put certain information and documents before

the Court that are pertinent to the Plan Objections.

        5.     Attached as Exhibit 1 is a true and correct copy of the Class 6 Asbestos PI Claims

(Indirect PI Trust Claims) and Class 9 General Unsecured Claims Ballots provided to

OneBeacon in connection with the solicitation and tabulation of votes to accept or reject the First

Amended Joint Plan of Reorganization Under Chapter 1 of the Bankruptcy Code of W.R. Grace

& Co., et al., the Official Committee of Asbestos Personal Injury Claimants, the Asbestos PI
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Future Claimants’ Representative, and the Official Committee of Equity Security Holders Dated

February 27, 2009 (the "Plan").

       6.      Attached as Exhibit 2 is a true and correct copy of the Class 6 Asbestos PI Claims

(Indirect PI Trust Claims) Ballot provided to Seaton in connection with the solicitation and

tabulation of votes to accept or reject the Plan.

       7.      Attached as Exhibit 3 is a true and correct copy of the Declaration of Michael J.

Powers Pursuant to 28 U.S.C. § 1746.

       8.      Attached as Exhibit 4 is a true and correct copy of excerpts from the Deposition

of Jeffrey Posner, taken and transcribed on May 6, 2009, including certain exhibits thereto.

       9.      Attached as Exhibit 5 is a true and correct copy of the Original Complaint filed on

or about March 18, 2002, in an adversary proceeding before this Court entitled Official

Committee of Asbestos Personal Injury Claimants and Official Committee of Asbestos Property

Damage Claimants of W.R. Grace & Co v. Fresenius Medical Care Holdings, Inc. and National

Medical Care, Inc., Adv. No. 02-2011 (the "Fresenius Adversary Proceeding"). This document

was downloaded from the bankruptcy court’s public electronic case filing system.

        10. Attached as Exhibit 6 is a true and correct copy of the Answer to Original

Complaint filed by Fresenius Medical Care Holdings, Inc. and National Medical Care, Inc. filed

on April 1, 2002 in the Fresenius Adversary Proceeding. This document was downloaded from

the bankruptcy court’s public electronic case filing system.

        11. Attached as Exhibit 7 is a true and correct copy of excerpts from the Form S-4

Registration Statement filed with the United States Securities and Exchange Commission by

W.R. Grace & Co. (to be renamed Fresenius National Medical Care, Inc.) (EIN XX-XXXXXXX) on

August 2, 1996, SEC File No. 333-46281, and referenced in Plan Definition No. 124 (defining




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"Fresenius Transaction"). This document is a public record, downloaded from the SEC’s

publicly available EDGAR database. The full text &the Fresenius Transaction Form S-4 is

available at http://edgar.sec.gov/Archives/edgar/data/42872/O000950123-96-004024.txt.

       12. Attached as Exhibit 8 is a true and correct copy of the Original Complaint filed on

or about March 18, 2002, in an adversary proceeding before this Court entitled Official

Committee of Asbestos Personal Injury Claimants and Official Committee of Asbestos Property

Damage Claimants of W.R. Grace & Co v. Sealed Air Corporation and Cryovac, Inc., Adv. No.

02-2010 (the "Sealed Air Adversary Proceeding"). This document was downloaded from the

bankruptcy court’s public electronic case filing system.

       13. Attached as Exhibit 9 is a true and correct copy of the Answer and Affirmative

Defenses &Defendants Sealed Air Corporation and Cryovac, Inc. to Plaintiffs’ Original

Complaint, flied on or about April 1, 2002 in the Sealed Air Adversary Proceeding. This

document was downloaded from the bankruptcy court’s public electronic case filing system.

       14. Attached as Exhibit 10 is a true and correct copy of excerpts from the Form S-4

Registration Statement filed with the United States Securities and Exchange Commission by

W.R. Grace & Co. (to be renamed Sealed Air Corporation) (EIN XX-XXXXXXX) on February 13,

1998, SEC File No. 333-46281, and referenced in Plan Definition No. 92 (defining "Cryovac

Transaction"). This document is a public record, downloaded from the SEC’s publicly available

EDGAR database. The full text of the Cryovac Transaction Form S-4 is available at

http ://edgar.sec.go v/Archives/edgar/dated l O12100/OOOO950103-98-OOO14 7.txt.

       15. Attached as Exhibit 11 is a true and correct copy of the Complaint for Declaratory

and Other Relief, filed on or about September 2, 2004 in an adversary proceeding before this

Court entitled The Scotts Company v. American Employers’ Insurance Company, et al., Adv. No.




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04-55083-JKF (the "Scotts Adversary Proceeding"). This document was downloaded from the

bankruptcy court’s public electronic case filing system.

       16. Attached as Exhibit 12 is a tree and correct copy of Proof of Claim No. 8112,

filed by Fresenius Medical Care Holdings, Inc. This document was obtained by request from

Rust Consulting, Inc., the designated claims processing agent for this bankruptcy case.

       17. Attached as Exhibit 13 is a true and correct copy of Proof of Claim No. 14339,

filed by Sealed Air Corporation. This document was obtained by request from Rust Consulting,

Inc., the designated claims processing agent for this bankruptcy case.

       18. Attactied as Exhibit 14 is a true and correct copy of excerpts from the Deposition

of Richard Finke, taken and transcribed on May 13, 2009.

       19. Attached as Exhibit 15 is a tree and correct copy of excerpts from the Deposition

of David T. Austem, taken and transcribed on May 15, 2009.

       20. Attached as Exhibit 16 is a true and correct copy of excerpts from the Deposition

of Peter Van N. Lockwood, taken and transcribed on May 1 and 4, 2009.

       21. Attached as Exhibit 17 is a true and correct copy of the Asbestos PI Future

Claimants’ Representative’s Response to Government Employees Insurance Company and

Columbia Insurance Company’s Requests for Admission, Interrogatories, and Requests for

Production of Documents, served on OneBeacon and Seaton on or about March 6, 2009.

       22. Attached as Exhibit 18 is a true and correct copy of the Expert Report of James B.

Shein, dated March 16, 2009 (also available at Dkt. No. 21020).

       23. Attached as Exhibit 19 is a true and correct copy of the Declaration of Professor

George L. Priest, dated March 31, 2009 (also available at Dkt. No. 21167).




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       24. Attached as Exhibit 20 is a tree and correct copy of the Expert Report of H. Sean

Mathis, dated March 16, 2009 (also available at Dkt. No. 21019), and a subsequent Notice of

Correction to the Expert Report ofH. Sean Mathis, dated March 26, 2009 (also available at Dkt.

No. 21127).



       I, Jeffrey M. Boerger, do hereby declare under penalty of perjury that the foregoing is

true and correct. Executed on May 20, 2009 at Philadelphia, Pennsylvania.




                                                  Je~"d~I~. l~erger ~




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